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                  9 Attorneys for Plaintiffs

             10                                UNITED STATES DISTRICT COURT
             11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
             12
                      ROBERT ANDERSON, individually;
             13                                                     CASE NO.: 2:21-cv-09102-VAP-PD
                      DIXIE ATWOOD, individually;
             14       HOLLY ATWOOD, individually;                   PLAINTIFFS’ RESPONSE TO
                      JORDAN ATWOOD, individually;                  COURT’S ORDER TO SHOW
             15                                                     CAUSE ISSUED MARCH 2, 2022
                      CATHERINE BENDELE, individually;
             16       DOROTHY LYNN BODDY,
                      individually; DIANA BODKIN,
             17       individually; STACIE CLEMENT on
             18       behalf of her minor child L.C.,
                      individually; STACIE CLEMENT,
             19       individually; SUZANNE COIT,
             20       individually; JORDAN SALTERN
                      DEHEK, individually; MARY
             21       DEJONG, individually; PATRICIA
             22       MARIE EARL MAUGHAN,
                      individually; CHRISTOPHER JAMES
             23       EARL individually; GEORGE JAMES
             24       GIBSON, individually; MEGAN HILL,
                      individually; CHRISTI HUMPHREYS,
             25       individually; MICHAEL HYE,
             26       individually; SUZANNE JERABEK,
                      individually; COBY MAUGHAN,
             27       individually; MICHAEL MCCAULEY,
             28       individually; KAILEY MEYER,
    Gomez
Trial Attorneys
                                                                     -1-
                                   PLAINTIFFS’ RESPONSE TO COURT’S ORDER TO SHOW CAUSE ISSUED MARCH 2, 2022
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                  1
                      individually; MONY PARK, as Legal
                      Representative of the ESTATE OF
                  2   LARRY C. PARK, individually;
                  3
                      REBECCA POPPLETON, individually;
                      CHRYSTINA ROWE, individually;
                  4   AMY SMITH, individually; BRENDA
                  5   STROUPE, individually; LISA
                      TICHENOR, individually; JESSICA
                  6   WALKER, individually; PAULINE
                  7   LLOYD WALKER, individually;
                      BERGANDY WATSON, individually;
                  8   LAUREN COLETRAIN, individually;
                  9   BRIAN CROOKS, individually;
                      DAVID GRASTY, individually;
             10       RACHEL GRASTY-SHEEHAN,
             11       individually; TANYA LIEB,
                      individually; APRIL MANDEVILLE,
             12       individually; APRIL MANDEVILLE,
             13       on behalf of her minor child, A.V.,
                      individually; CRYSTAL NASH,
             14       individually; CRYSTAL NASH, on
             15       behalf of her minor child, A.F.,
                      individually; ASHLEY RICE
             16       individually; ASHLEY RICE, on behalf
             17       of her minor child, M.D., individually;
                      MARLENE SHEEHAN, individually;
             18       JOHN TEAGUE, individually; FRANK
             19       VERA III, on behalf of his minor child,
                      F.V., individually; FRANK VERA III,
             20       on behalf of his minor child, M.V.,
             21       individually; KANDI WIMBERLY,
                      individually; CORBYN ZIEMER
             22       MCCONAHY, individually; SARAH
             23       MCCONAHY ZIEMER, individually;
                      and SARAH MCCONAHY ZIEMER,
             24       behalf of her minor child, O.Z.,
             25       individually;
             26
                                  Plaintiffs,
             27
                      v.
             28
    Gomez
Trial Attorneys
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                                   PLAINTIFFS’ RESPONSE TO COURT’S ORDER TO SHOW CAUSE ISSUED MARCH 2, 2022
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                      THE UNITED STATES OF
                  1 AMERICA

                  2             Defendants.
                  3

                  4

                  5       On February 16, 2022, Plaintiffs ROBERT ANDERSON, DIXIE ATWOOD,
                  6 HOLLY ATWOOD, JORDAN ATWOOD, CATHERINE BENDELE, DOROTHY

                  7 LYNN BODDY, DIANA BODKIN, STACIE CLEMENT ON BEHALF OF HER

                  8 MINOR CHILD L.C., STACIE CLEMENT, SUZANNE COIT, JORDAN SALTERN

                  9 DEHEK, MARY DEJONG, PATRICIA MARIE MAUGHAN EARL, JAMES EARL,

             10 GEORGE JAMES GIBSON, MEGAN HILL, CHRISTI HUMPHREYS, EARL

             11 HUMPHREYS, MICHAEL HYE, SUZANNE JERABEK, COBY MAUGHAN,

             12 MICHAEL MCCAULEY, KAILEY MEYER, MONY PARK, ON BEHALF OF THE

             13 ESTATE OF LARRY C. PARK, REBECCA POPPLETON, CHRYSTINA ROWE,

             14 AMY SMITH, BRENDA STROUPE, LISA TICHENOR, JESSICA WALKER,

             15 PAULINE LLOYD WALKER, BERGANDY WATSON, LAUREN COLETRAIN,

             16 BRIAN CROOKS, DAVID GRASTY, RACHEL GRASTY-SHEEHAN, TANYA

             17 LIEB, APRIL MANDEVILLE, APRIL MANDEVILLE ON BEHALF OF HER

             18 MINOR CHILD, A.V., CRYSTAL NASH, CRYSTAL NASH ON BEHALF OF HER

             19 MINOR CHILD, A.F., ASHLEY RICE, ASHLEY RICE ON BEHALF OF HER

             20 MINOR CHILD, M.D., MARLENE SHEEHAN, JOHN TEAGUE, FRANK VERA III

             21 ON BEHALF OF HIS MINOR CHILD, F.V., FRANK VERA III ON BEHALF OF HIS

             22 MINOR CHILD, M.V., KANDI WIMBERLY, CORBYN ZIEMER MCCONAHY,

             23 SARAH MCCONAHY ZIEMER, SARAH MCCONAHY ZIEMER BEHALF OF HER

             24 MINOR CHILD, O.Z, (hereinafter “Plaintiffs”) filed a Second Amended Complaint

             25 against Defendant The United States of America. On March 3, 2022, this Court issued

             26 an Order to Show Cause requesting Plaintiff show cause in writing as to “why this

             27 action should not be dismissed for lack of prosecution”.

             28           Plaintiff responds as follows:
    Gomez
Trial Attorneys
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                                  PLAINTIFFS’ RESPONSE TO COURT’S ORDER TO SHOW CAUSE ISSUED MARCH 2, 2022
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                  1        1.    Plaintiff served the Second Amended Summons and Complaint on
                  2 Defendant the United States of America via certified mail to the Attorney General of the

                  3 United States on March 4, 2022 as required by Fed. R. Civ. P. (4)(i)(1).

                  4        2.    Plaintiffs also attempted to personally serve the Second Amended
                  5 Summons and Complaint on the United States Attorney’s office at 300 N. Los Angeles

                  6 Street, Suite 7516, Los Angeles, CA 90012 as required by Fed. R. Civ. P. (4)(i)(1).

                  7 Personal service was denied due to a COVID policy restricting the office to accept

                  8 personal service on site. Therefore, Plaintiffs served the United States Attorney’s office

                  9 at 300 N. Los Angeles Street, Suite 7516, Los Angeles, CA 90012 via certified mail on

             10 March 4, 2022.

             11            3.    Plaintiffs filed executed Proofs of Service of Second Amended Summons
             12 and Complaint for Defendant United States of America on March 7, 2022 with the

             13 Court. See Doc. No. 17.

             14            To conclude, Plaintiffs respectfully request that this Court accept this filing and
             15 the filed Proofs of Service of Second Amended Summons and Complaint as an

             16 appropriate response to the Order to Show Cause as to why this action should not be

             17 dismissed.

             18

             19 Dated: March 7, 2022                            GOMEZ TRIAL ATTORNEYS
             20

             21                                                 By: /s/ Paul L. Starita
                                                                       Paul L. Starita
             22

             23                                                 John H. Gomez (SBN 171485)
                                                                Jessica S. Williams (SBN 314762)
             24                                                 Paul L. Starita (SBN 219573)
             25                                                 Attorneys for the Plaintiffs
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    Gomez
Trial Attorneys
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                                   PLAINTIFFS’ RESPONSE TO COURT’S ORDER TO SHOW CAUSE ISSUED MARCH 2, 2022
